Case 9:16-cv-81798-DMM Document 36 Entered on FLSD Docket 01/03/2017 Page 1 of 7



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                                  Case No.: 9:16-cv-81798-DMM

                                                  x
  TTT Foods Holding Company LLC,                  :
  a Florida limited liability company,            :
                                                  :
         Plaintiff,                               :
                                                  :
  v.                                              :
                                                  :
  BEATRICE NAMM, an individual,                   :
  JONATHAN NAMM, an individual, and               :
  DELUXE GOURMET SPECIALTIES LLC, a               :
  New Jersey limited liability company,           :
                                                  :
         Defendants.                              :
                                                  x

              MOTION TO STRIKE AMENDED AFFIRMATIVE DEFENSES AND
                      INCORPORATED MEMORANDUM OF LAW

         Plaintiff, TTT Foods Holding Company LLC (“TTT Foods”), pursuant to Rule 12(f) of

  the Federal Rules of Civil Procedure, hereby files this Motion to Strike Amended Affirmative

  Defenses and Incorporated Memorandum of Law (the “Motion”), which requests that the Court

  strike certain amended affirmative defenses plead by Defendants, Beatrice Namm (“Mrs.

  Namm”), Jonathan Namm (“Mr. Namm”) (together, the “Namms”) and Deluxe Gourmet

  Specialties LLC (“Deluxe”) (collectively, the “Defendants”) in their Amended Answer,

  Affirmative Defenses [ECF No. 29] filed on December 17, 2016, and in support thereof states as

  follows:

                                  FACTUAL BACKGROUND

         1.      TTT Foods filed the Amended Complaint on November 2, 2016 (the

  “Complaint”) [ECF No. 8].



  {1955/000/00353432}
Case 9:16-cv-81798-DMM Document 36 Entered on FLSD Docket 01/03/2017 Page 2 of 7



         2.      TTT Foods has alleged in the Complaint that Mrs. Namm caused Brooklyn’s Best

  LLC (“Brooklyn’s Best”), a company that owes more than $176,001.76 to TTT Foods, to

  fraudulently transfer more than $99,000 to or for the benefit of the Namms for insufficient

  consideration. TTT Foods has also alleged that Mrs. Namm breached her fiduciary duties, and

  that Deluxe and Mrs. Namm should be held liable for Brooklyn’s Best’s indebtedness to TTT

  Foods under theories of alter ego, piercing the corporate veil and successor liability.

         3.      On November 29, 2016, the Defendants filed their Answer and Affirmative

  Defenses (the “Initial Answer”), and on December 5, 2016, TTT Foods filed its Motion to Strike

  Affirmative Defenses and Incorporated Memorandum of Law (the “Initial Motion to Strike”)

  [ECF No. 28] directed at thirteen of the Defendants’ affirmative defenses. Instead of filing a

  response, the Defendants filed an Amended Answer, Affirmative Defenses (the “Amended

  Answer”) that raise eighteen affirmative defenses (collectively, the “Amended Defenses”) [ECF

  No. 29].

         4.      On December 22, 2016, the Court docketed an Order to Show Cause as to why

  the Initial Motion to Strike should not be granted based on Defendants’ failure to respond. On

  December 22, 2016, the Defendants filed a Response to Order to Show Cause [ECF No. 32] that

  alleged that the Amended Defenses rendered the Initial Motion to Strike moot. On December

  28, 2016, the Court docketed an Order that denied the Initial Motion to Strike as moot.

         5.      While the Amended Defenses remove entirely the previously asserted affirmative

  defenses based on a due process violation, the doctrine of waiver, the doctrine of merger of

  judgment, and the doctrine against splitting of causes of action, the Twelfth through Fifteenth,

  Seventeenth and Eighteenth Affirmative Defenses set forth in the Amended Defenses should be

  stricken as bare bones conclusory allegations, and/or not affirmative defenses.




                                                   2
  {1955/000/00353432}
Case 9:16-cv-81798-DMM Document 36 Entered on FLSD Docket 01/03/2017 Page 3 of 7



                                            ARGUMENT

         6.       “The Court has broad discretion in considering a motion to strike under

  Fed.R.Civ.P. 12(f).” Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314, 1317–

  18 (S.D. Fla. 2005) (citation omitted). Rule 12(f) of the Federal Rules of Civil Procedure states

  in part that “[t]he court may strike from a pleading an insufficient defense or any redundant,

  immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).

         7.      As this Court has stated, “to constitute an affirmative defense, a defendant must

  allege some additional facts beyond merely pointing out defects or lack of evidence in the

  plaintiff's case.” Falzarano v. Retail Brand All., Inc., No. 07-81069-CIV, 2008 WL 899257, at

  *1 (S.D. Fla. Mar. 31, 2008) (granting plaintiff’s motion to strike an affirmative defense as

  insufficient because it did “no more than recite the standard for dismissal under Rule

  12(b)(6)[.]”). “By its very definition, ‘[a]n affirmative defense is established only when a

  defendant admits the essential facts of a complaint and sets up other facts in justification or

  avoidance.’” Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d at 1318 (quoting Will

  v. Richardson–Merrell, Inc., 647 F.Supp. 544, 547 (S.D.Ga.1986)). “A defense which points out

  a defect in the plaintiff's prima facie case is not an affirmative defense.” In re Rawson Food

  Serv., Inc., 846 F.2d 1343, 1349 (11th Cir. 1988) (concluding that lack of possession is not an

  affirmative defense to a seller’s reclamation claim because “possession is an integral element of

  a seller's reclamation claim and therefore is a necessary part of the seller's prima facie case[.]”).

  Further, “[w]here the affirmative defenses are no more than bare bones conclusory allegations,

  they must be stricken.” Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d at 1318

  (internal quotations omitted).

         8.      The Court should strike the Twelfth through Fourteenth Affirmative Defenses

  because they are not affirmative defenses. They merely point out alleged defects in TTT Foods’

                                                   3
  {1955/000/00353432}
Case 9:16-cv-81798-DMM Document 36 Entered on FLSD Docket 01/03/2017 Page 4 of 7



  prima facie case or lack of evidence, and are redundant of the Defendants’ denials set forth in the

  Amended Answer. They do not admit the essential facts of the Complaint, and set up other facts

  in justification of avoidance.

         9.      The Twelfth Affirmative Defense merely denies TTT Foods’ allegations by

  stating that “Brooklyn’s Best LLC was not created or used in order to mislead or defraud

  Plaintiff, and its corporate veil should not be pierced nor should Defendant Beatrice Namm be

  found to be its alter ego.” Am. Answer ¶ 24. The Defendants’ additional statements relating to

  TTT Foods not requiring Mrs. Namm to sign a guaranty are, if not irrelevant, further attempts to

  point out defects in TTT Foods’ prima facie case. The Twelfth Affirmative Defense does not set

  up other facts that in justification or avoidance of liability based on alter ego or veil piercing.

         10.     The Thirteenth Affirmative Defense alleges that “Counts I through IV fail to state

  a cause of action to establish joint and several liability[,]” which is a mere denial of TTT Foods’

  allegations. Am. Answer ¶ 25. Similarly, the Fourteenth Affirmative Defense sets forth only

  denials by stating that “Count V fails to state a cause of action for violation of a fiduciary

  duty[,]” and “[t]here is no allegation in Count V of ultimate facts to support a cause of action for

  a violation of fiduciary duty.” Am. Answer ¶ 26.

         11.     The Court should strike the Fifteenth, Seventeenth and Eighteenth Affirmative

  Defenses because they are bare bones conclusory allegations. The Fifteenth Affirmative Defense

  alleges that “Bea’s Brooklyn’s Best LLC is a required and indispensable party to this action and

  this Court should dismiss this action.”      Am. Answer ¶ 27. The Defendants, however, fail to

  allege any fact to support its argument that Brooklyn’s Best is a required and indispensable party

  under Rule 19 of the Federal Rules of Civil Procedure. See Molinos Valle Del Cibao, C. por A.

  v. Lama, 633 F.3d 1330, 1347 (11th Cir. 2011) (“As the party invoking Rule 19, it is his burden

  to demonstrate which Rule 19(b) factors required dismissal ‘in equity and good conscience.’”).

                                                     4
  {1955/000/00353432}
Case 9:16-cv-81798-DMM Document 36 Entered on FLSD Docket 01/03/2017 Page 5 of 7



         12.     “A party is not necessary simply because joinder would be convenient, or because

  two claims share common facts.” Raimbeault v. Accurate Mach. & Tool, LLC, 302 F.R.D. 675,

  682 (S.D. Fla. 2014). “Rather, an absent party is considered necessary (i) if, in its absence, the

  court cannot accord complete relief among the existing parties to the action; (ii) if the nonparty’s

  absence would have a prejudicial effect on that party’s ability to protect its interest relating to the

  subject of the action; or (iii) if, due to the absent party’s related interest, the nonparty’s absence

  would leave the existing parties at a substantial risk of incurring inconsistent obligations upon

  the court’s disposition of the current action.” Id. at 682 (citing Fed.R.Civ.P. 19(a)(1)). The

  Defendants fail to articulate any reason why the Court might not be able to accord complete

  relief among the existing parties if Brooklyn’s Best is not joined. The Defendants fail to state

  any interest of Brooklyn’s Best relating to the subject of the action that could be prejudiced by its

  absence. Nor have the Defendants set forth any reason as to how Brooklyn’s Best’s absence

  could leave the existing parties at a substantial risk of incurring inconsistent obligations.

         13.     Instead, the Defendants merely attempt to describe how Brooklyn’s Best is

  involved in the facts surrounding the claims by stating that some of the transfers at issue came

  from Brooklyn’s Best, and that TTT Foods has alleged that Mrs. Namm breached her fiduciary

  duty to Brooklyn’s Best, Mrs. Namm is an alter ego of Brooklyn’s Best and Brooklyn’s Best’s

  corporate veil should be pierced. Am. Answer ¶ 27. None of these statements are relevant to

  whether Brooklyn’s Best is a necessary or indispensable party. TTT Foods has not asserted any

  claims against Brooklyn’s Best with respect to such transfers, and is not seeking recovery against

  Brooklyn’s Best as a result of such transfers. The fraudulent transfer statutes apply to the

  recipients of the transfers not the transferors. TTT Foods has alleged that Mrs. Namm, as an

  officer and director of Brooklyn’s Best, owed a fiduciary duty to Brooklyn’s Best and its

  creditors, and breached such duty. TTT Foods is not alleging that Brooklyn’s Best owed TTT

                                                    5
  {1955/000/00353432}
Case 9:16-cv-81798-DMM Document 36 Entered on FLSD Docket 01/03/2017 Page 6 of 7



  Foods a fiduciary duty.     Nor is TTT Foods seeking recovery against Brooklyn’s Best for Mrs.

  Namm’s breach of fiduciary duty. TTT Foods is seeking to hold Mrs. Namm liable for the debts

  of Brooklyn’s Best to TTT Foods under an alter ego and veil piercing theory. TTT Foods is not

  seeking recovery against Brooklyn’s Best for such debts. As alleged in the Complaint, TTT

  Foods already has obtained final judgments against Brooklyn’s Best. See Compl. ¶¶ 17-20.

            14.    The Seventeenth Affirmative Defense alleges in conclusory fashion that “[f]or all

  the reasons articulated in 12th Affirmative Defense, supra, it would be inequitable to grant

  Plaintiff any equitable relief.” Am. Answer ¶ 29. Similarly, the Eighteenth Affirmative Defense

  merely alleges that “[f]or all the reasons articulated in [sic] 12th Affirmative Defense, supra,

  Plaintiff [sic] unclean hand and should not be granted equitable relief.” Am. Answer ¶ 30. The

  Seventeenth, Eighteenth, and Twelfth Affirmative Defenses, however, fail to allege any instance

  in which TTT Foods’ conduct was wrong, inequitable or could establish that TTT Foods had

  unclean hands.

            WHEREFORE, Plaintiff, TTT Foods requests that this Court enter an Order:

        i.         Granting the Motion;

       ii.         Striking the Twelfth, Thirteenth and Fourteenth Affirmative Defenses with
                   prejudice because they are not affirmative defenses and are insufficiently plead;

      iii.         Striking the Fifteenth, Seventeenth and Eighteenth Affirmative Defenses with
                   prejudice because they are bare bones conclusory allegations; and

      iv.          Granting TTT Foods any other additional relief that the Court deems just and
                   appropriate.




                                                   6
  {1955/000/00353432}
Case 9:16-cv-81798-DMM Document 36 Entered on FLSD Docket 01/03/2017 Page 7 of 7


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice

  of electronic filing via CM/ECF to Gus R. Benitez, Esquire, counsel for the Defendants, 1223

  East Concord Street, Orlando, Florida 32803 service@arbenitez.com; Gus@arbenitez.com, and

  to those other parties registered to receive such service on January 3, 2017.


                                                SHRAIBERG FERRARA LANDAU & PAGE, PA
                                                Attorneys for TTT Foods
                                                2385 NW Executive Center Drive, Suite 300
                                                Boca Raton, Florida 33431
                                                Telephone: 561-443-0800
                                                jpage@sflp.law
                                                blee@sflp.law

                                                By:    /s/ John E. Page
                                                         John E. Page
                                                         Florida Bar No. 0860581
                                                         Bernice C. Lee
                                                         Florida Bar No. 0073535




                                                   7
  {1955/000/00353432}
